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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


  IN RE VALSARTAN,
  LOSARTAN, AND                                        MDL No. 2875
  IRBESARTAN PRODUCTS
  LIABILITY LITIGATION
                                               HON. ROBERT B. KUGLER
                                                MDL NO. 19-2875 (RBK)
  THIS DOCUMENT RELATES TO
  ALL CASES


              PLAINTIFFS’ NOTICE OF MOTIONS IN LIMINE

 TO: Jessica Davidson, Esq,
     SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
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     New York, New York 10001
     Attorneys for the ZHP Defendants

       Lori G. Cohen, Esq.
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       Attorneys for the Teva Defendants

       Jay Philip Lefkowitz, Esq.
       KIRKLAND & ELLIS LLP
       601 Lexington Avenue
       New York, New York 10022
       Attorneys for the Torrent Defendants

       PLEASE TAKE NOTICE that Plaintiffs shall move before the Honorable

 Robert B. Kugler, U.S.D.J., and the Honorable Thomas I. Vanaskie, Special Master,
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 at the United States District Court for the District of New Jersey, 1 John F. Jerry

 Plaza, 4th and Cooper Streets, Camden, New Jersey, for an Order granting their

 motions in limine, as described in greater detail in the accompanying brief and

 proposed order.

       PLEASE TAKE FURTHER NOTICE that Plaintiffs shall rely upon the

 brief, supporting certification, and proposed order filed herewith.

       PLEASE TAKE FURTHER NOTICE that Plaintiffs request oral argument

 pursuant to L. Civ. R. 78.1.

                                  MAZIE SLATER KATZ & FREEMAN, LLC
                                  Attorneys for Plaintiffs

                                  By: /s/ Adam M. Slater

 Dated: February 16, 2024




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                          CERTIFICATE OF SERVICE

       I hereby certify that on February 16, 2024, I electronically filed this motion,

 a supporting brief, a partially redacted supporting certification, and proposed order

 with the Clerk of the Court using CM/ECF system which will send notification of

 such filing to the CM/ECF participants registered to receive service in this MDL. In

 addition, I hereby certify that copies of foregoing documents, excluding the

 numerous exhibits, will be served contemporaneous to filing via email on the Court,

 Special Master, and Jessica Davidson at Jessica.Davidson@skadden.com, Lori

 Cohen at CohenL@gtlaw.com, and Jay Lefkowitz at lefkowitz@kirkland.com. The

 exhibits will be sent via FedEx to the Court via a thumb drive, and emailed to the

 Special Master and Jessica Davidson at Jessica.Davidson@skadden.com, Lori

 Cohen at CohenL@gtlaw.com, and Jay Lefkowitz at lefkowitz@kirkland.com using

 a Dropbox link.

                                 MAZIE SLATER KATZ & FREEMAN, LLC
                                 Attorneys for Plaintiffs

                                 By:    /s/ Adam M. Slater

 Dated: February 16, 2024




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